                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:92 CR 153

UNITED STATES OF AMERICA               )
                                       )
      v.                               )                       ORDER
                                       )
BYRON JONES             (1)            )
_______________________________________)

       THIS MATTER IS BEFORE THE COURT upon Defendant’s Motion for a refund on

assessments paid towards four counts that were vacated at Defendant’s re-sentencing held on

June 28, 2006.

       The financial records of this Court indicate that Defendant was originally assessed $300

(six counts at $50 each). Court records further indicate that the Defendant has paid a total of

$250 to the Court. Therefore, with a current assessment of $100 (two counts at $50 each), the

defendant is entitled to a refund in the amount of $150.00.

       IT IS THEREFORE ORDERED that a refund in the amount of $150.00 be issued to

Defendant Byron Jones.

       IT IS SO ORDERED.



                                                 Signed: December 1, 2006




       Case 3:92-cr-00153-FDW           Document 23           Filed 12/01/06    Page 1 of 1
